                            UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

 In re:

 Lucas A. Hester,                                         Case No. 22-12523-HAC-7

                            Debtor.


 Lucas A. Hester,

                            Plaintiff,                    Adv. Proc. No. 23-1002-HAC

 v.

 United States Department of Education,

                            Defendant.


                            STIPULATION AND JOINT MOTION
                       FOR ORDER DETERMINING DISCHARGEABILITY

           Plaintiff, Lucas A. Hester, and the United States of America, by and through the United

States Attorney for the Southern District of Alabama, Sean P. Costello, on behalf of the United

States Department of Education (USDE), respectfully stipulate to the following facts and

conclusions and jointly move the Court for a determination that Plaintiff’s student loan debts that

are the subject of this adversary proceeding are partially dischargeable under 11 U.S.C.

§ 523(a)(8). As grounds, the parties submit:

                                              Background Facts

      I.        Plaintiff’s bankruptcy case

           1.      Plaintiff filed his voluntary chapter 7 bankruptcy petition on December 9, 2022.

[Bankr. Case No. 22-12523, Doc. 1].




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         2.      The Chapter 7 Trustee filed her Report of No Distribution in that case on January

10, 2023, abandoning $2,000.00 in assets and acknowledging exempt assets valued at $1,775.00.

[Bankr. Case No. 22-12523, Doc. 11].

         3.      The Court entered its order granting Plaintiff’s discharge under 11 U.S.C. § 727

on March 14, 2023. [Bankr. Case No. 22-12523, Doc. 13].

         4.      Meanwhile, on January 6, 2023, Plaintiff filed this adversary proceeding to

determine the dischargeability of his student loan debts to USDE. [Doc. 1].

   II.        Plaintiff’s student loan history

         5.      Between 2009 and 2016, Plaintiff borrowed $93,250.00 in Direct Stafford Loans

and $5,500 in FFEL loans to attend the University of Mobile in Mobile, Alabama:

         6.      As of January 13, 2023, the balance of the student loan debts totaled $126,001.45:

         DIRECT STAFFORD LOANS

 Debt             Disbursed     Disbursed        Principal    Interest   Accrued      Total
 Number           Date          Amount                        Rate       Interest
 DLUNST           08/30/2016    $10,250          $10,661.12   5.31%      $1,478.37    $12,139.49
 12
 DLUNST           09/01/2015    $20,500          $22,392.70   5.84%      $3,430.46    $25,823.16
 11
 DLUNST           09/02/2014    $20,500          $23,790.76   6.21%      $3,885.71    $27,676.47
 10
 DLUNST           09/03/2013    $20,500          $24,475.76   5.41%      $3,461.41    $27,937.17
 9
 DLSTFD           09/04/2012    $5,500           $5,593.23    3.40%      $0.49        $5,593.72
 7
 DLUNST           09/04/2012    $2,000           $2,623.18    6.80%      $470.73      $3,093.91
 8
 DLSTFD           08/30/2011    $5,500           $5,500.00    3.40%      $0.51        $5,500.51
 5
 DLUNST           08/30/2011    $2,000           $2,760.73    6.80%      $495.25      $3,255.98
 6
 DLSTFD           08/26/2010    $4,500           $4,500.00    4.50%      $0.52        $4,500.52
 3
 DLUNST           08/26/2010    $2,000           $2,897.31    6.80%      $519.79      $3,417.10
 4


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          FFEL LOANS

 Debt              Disbursed      Disbursed      Principal    Interest      Accrued        Total
 Number            Date           Amount                      Rate          Interest
 STFFRD            09/10/2009     $3,500         $3,500.00    5.60%         $0.05          $3,500.05
 1
 UNSTFD            09/10/2009     $2,000         $3,031.47    6.80%         $531.90        $3,563.37
 2

          7.       Plaintiff seeks a determination that all of these student loans are dischargeable.

   III.         Plaintiff’s current standard of living

          8.       Plaintiff is a 32-year-old married man, employed as an in-home therapist.

Currently, Plaintiff and his wife, who is a waitress, share a living space with roommates to

defray living expenses. Plaintiff’s income is fixed for his position with his current employer, and

his salary is competitive with the Mobile regional market. There is little room for advancement,

and advancement does not carry substantial pay increases.

          9.       Plaintiff’s gross income (combined with his wife) totals $4,439.78, comprised of

$3,434.92 from his employment and $1,004.86 from his wife’s waitress work.

          10.      The Internal Revenue Service (IRS) Collection Financial Standards allowance for

two persons totals $1,464.00 per month for the National Standards Living Expenses effective

April 24, 2023. Plaintiff’s monthly payroll deductions total $1,095.05. His monthly housing

costs total $765.00, and his monthly transportation costs total $799.54, which are well below the

Local Standards allowances. Plaintiff also claims a monthly expense of $300 labeled “wife’s

bills,” which includes the minimum monthly payment on two credit cards. Credit card payments

are not generally considered as reasonable and necessary expenses. Without the “wife’s bills,”

Plaintiff’s monthly expenses total $4,123.59.




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         11.       Plaintiff also points out that his current living situation (with roommates) is

undesirable, and Plaintiff and his wife would like to purchase a home together. Their current

financial circumstances could not absorb making any payment while also purchasing a home.

         12.       Based on this analysis, Plaintiff shows a positive net monthly cash flow of

$316.19 before making any payment on his student loan debt. On his current income, Plaintiff

can maintain a minimal standard of living under IRS’s National Standards and make some

limited payment toward his student loan debts. However, USDE acknowledges that Plaintiff’s

standard repayment plan payment would be approximately $1,374.76, which Plaintiff clearly

cannot pay.

         13.       On his current income, Plaintiff cannot maintain a minimal standard of living

under IRS’s National Standards and make a payment greater than $316.19 toward his student

loan debts.

   IV.         Plaintiff’s future ability to pay

         14.       Plaintiff obtained student loans to attend the University of Mobile. Plaintiff

received a degree and is employed within his field of study.

         15.       Regarding his current employment, Plaintiff attests:

         I am capable of moving into supervisory positions at my current place of
         employment. However, pay raises for these positions are still only marginal - the
         primary issue being that my employer AltaPointe aggressively expanded in the
         2000s and early 2010s, acquiring most community mental health competition (e.g.
         Searcy) and establishing the pay rate for positions such as ours for most locations
         in the region and much of both our state and neighboring states. While this allows
         some flexibility in where I can work without risk of taking on a job with an
         unfamiliar company, it limits pay prospects.

         There is also the option of moving into private practice, which pays more. But
         whether one chooses to go the way of leasing their own office, employing their
         own staff, etc. or working with a group such as Collins Counseling where one
         pays a recurring fee to rent and make use of a shared space / staff, there is of
         course the added expenses of the aforementioned, plus needing to pay for your



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        own continued education credits in order to maintain licensure (LMFT in my
        case), liability insurance, medical insurance, retirement of some form (IRA, etc),
        and so on. So costs scale with pay increase. As well, pay is not static or
        guaranteed; working with AltaPointe, I get paid a salary, but working private
        practice, you get paid per client seen and service rendered, and that’s only if you
        can get the clients in the door in the first place. As such, private practice also has
        to take into consideration advertising costs, even sometimes when working with a
        group like Collins Counseling.

        16.      USDE agrees that Plaintiff provided a reasonable explanation that his financial

condition is not likely to change and that his inability to repay the student loan debts while

maintaining a minimal standard of living will likely persist for a significant portion of the

repayment period.

   V.         Plaintiff’s previous student loan payments

        17.      Plaintiff is enrolled in an Income Driven Repayment Plan.

        18.      Plaintiff recalls speaking with agents on the phone and sending documentation to

remain enrolled in a program. His income was beneath the threshold for IDR, so he has not been

required to make any payments.

        19.      Plaintiff has made good faith efforts in the past to repay the student loans.

                                            Legal Analysis

        Student loans debts are generally not to be discharged under the Bankruptcy Code. 11

U.S.C. § 523(a)(8). However, a narrow exception exists where “excepting such debt from

discharge . . . will impose an undue hardship on the debtor and the debtor’s dependents.” Id.

While the Bankruptcy Code does not define “undue hardship,” the Eleventh Circuit has joined

the significant majority of other circuits in adopting the standard set forth in Brunner v. New

York State Higher Education Services Corp., 831 F.2d 395, 396 (2d Cir. 1987). In re Cox, 338

F.3d 1238, 1241-42 (11th Cir. 2003). The Brunner test requires the debtor to show:




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        “(1) that the debtor cannot maintain, based on current income and expenses, a
        ‘minimal’ standard of living for herself and her dependents if forced to repay the
        loans; (2) that additional circumstances exist indicating that this state of affairs is
        likely to persist for a significant portion of the repayment period of the student
        loans; and (3) that the debtor has made good faith efforts to repay the loans.”

Graddy v. Educ. Credit Mgmt. Corp. (In re Graddy), 852 F.App’x 509, 512 (11th Cir. 2021)

(quoting In re Cox, 338 F.3d at 1241). The debtor must prove that all three Brunner factors are

met by a preponderance of the evidence. In re Mosley, 494 F.3d 1320, 1324 (11th Cir. 2007).

However, “the bankruptcy court must make an independent determination of undue hardship . . .

even if the creditor fails to object or appear in the adversary proceeding.” United Student Aid

Funds, Inc. v. Espinosa, 559 U.S. 260, 278 (2010).

        The Eleventh Circuit has not foreclosed the possibility of a partial discharge of student

loans but has held that such a discharge would still have to be supported by a finding of undue

hardship. Cox, 338 F.3d at 1242 (“There is no other language within § 523(a)(8) that could

reasonably be construed to permit a discharge, partial or otherwise, absent a finding of ‘undue

hardship.’”). Other courts considering a partial discharge have held that “discharging some, but

not all, student loans, is not a ‘partial discharge.’” Clark v. Wells Fargo Bank, N.A. (In re Clark),

Nos. 15-42603-BEM, 18-4012, 2021 Bankr. LEXIS 3257, at *2 n.1 (Bankr. N.D. Ga. Nov. 29,

2021) (citing Andresen v. Nebraska Std Loan Program, Inc., 232 B.R. 127, 136-37 (B.A.P., 8th

Cir. 1999)).

        Here, the parties agree that Plaintiff has satisfied the Brunner test and shown that

excepting all of Plaintiff’s student loan debts from discharge will impose an undue hardship on

Plaintiff and his wife. Specifically, the parties agree that:

        (1)     Based on Plaintiff’s current gross monthly income of $4,439.78 measured

                against his housing expenses and the monthly expense allowances under




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              IRS’s National and Local Standards for Living Expenses, which total

              $4,123.59, Plaintiff cannot maintain a minimal standard of living and also

              make the required total monthly payment toward his student loan debts;

       (2)    Based on Plaintiff’s explanation that his financial condition is not likely to

              change significantly, Plaintiff’s inability to repay all of his student loan

              debts while maintaining a minimal standard of living will likely persist for

              a significant portion of the repayment period; and

       (3)    Based on Plaintiff being enrolled in an Income Driven Repayment Plan,

              Plaintiff has made good faith efforts in the past to repay the student loan

              debts.

       Therefore, the parties jointly move the Court for an order determining that Plaintiff’s

following student loan debts are dischargeable under 11 U.S.C. § 523(a)(8):

 Debt         Disbursed      Disbursed     Principal      Interest       Accrued        Total
 Number       Date           Amount                       Rate           Interest
 DLUNST       08/30/2016     $10,250       $10,661.12     5.31%          $1,478.37      $12,139.49
 12
 DLUNST       09/01/2015     $20,500       $22,392.70     5.84%          $3,430.46      $25,823.16
 11
 DLUNST       09/02/2014     $20,500       $23,790.76     6.21%          $3,885.71      $27,676.47
 10
 DLUNST       09/04/2012     $2,000        $2,623.18      6.80%          $470.73        $3,093.91
 8
 DLUNST       08/30/2011     $2,000        $2,760.73      6.80%          $495.25        $3,255.98
 6
 DLSTFD       08/30/2011     $5,500        $5,500.00      3.40%          $0.51          $5,500.51
 5
 TOTAL                       $60,750       $67,728.49                    $9,761.03      $77,489.52




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                                           Conclusion

       Based on the foregoing, the parties respectfully request that the Court enter an order:

       1. Determining that Plaintiff’s student loan debts listed above as Loan Nos. 5, 6, 8, 10,

          11, and 12 are dischargeable under 11 U.S.C. § 523(a)(8);

       2. Finding that the Court’s order granting Plaintiff’s discharge under 11 U.S.C. § 727 on

          March 14, 2023, in Bankr. Case No. 22-12523 at Doc. 13 discharges Plaintiff’s

          student loan debts listed above and Loan Nos. 5, 6, 8, 10, 11, and 12; and

       3. Granting such other and further relief as the Court deems just and proper.

Respectfully submitted,

 FOR PLAINTIFF                                        FOR USDE

                                                      SEAN P. COSTELLO
 SOLON LAW, LLC                                       UNITED STATES ATTORNEY

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2024, the foregoing was electronically filed with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
counsel of record.


                                                     s/Keith A. Jones
                                                     Keith A. Jones




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